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 7

 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10

11                                             Case No.
     ANTHONY BOUYER, an
12                                             Complaint For Damages And
13   individual,                               Injunctive Relief For:

14                     Plaintiff,               1. VIOLATIONS OF THE
15                                                 AMERICANS WITH DISABILITIES
     v.                                            ACT OF 1990, 42 U.S.C. §12181 et
16                                                 seq. as amended by the ADA
17                                                 Amendments Act of 2008 (P.L. 110-
     LAXMI HOSPITALITY LLC, a
                                                   325).
18   California limited liability company;
     and DOES 1-10, inclusive,
19                                              2. VIOLATIONS OF THE UNRUH
                                                   CIVIL RIGHTS ACT, CALIFORNIA
20                    Defendants.                  CIVIL CODE § 51 et seq.
21

22
           Plaintiff, ANTHONY BOUYER (“Plaintiff”), complains of Defendant
23
     LAXMI HOSPITALITY LLC, a California limited liability company; and Does 1-
24
     10 (“Defendants”) and alleges as follows:
25
                                             PARTIES
26
           1.      Plaintiff is an adult California resident. Plaintiff is substantially limited
27
     in performing one or more major life activities because he is paraplegic, including
28
     but not limited to: walking, standing, ambulating, and sitting. As a result of these
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                                            COMPLAINT
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 1   disabilities, Plaintiff requires a wheelchair for mobility. With such disabilities,
 2   Plaintiff qualifies as a member of a protected class under the Americans with
 3   Disabilities Act, 42 U.S.C. §12102(2) as amended by the ADA Amendments Act of
 4   2008 (P.L. 110-325) (“ADA”) and the regulations implementing the ADA set forth
 5   at 28 C.F.R. §§ 36.101 et seq. At the time of Plaintiff’s visits to Defendants’ facility
 6   and prior to instituting this action, Plaintiff suffered from a “qualified disability”
 7   under the ADA, including those set forth in this paragraph. Plaintiff is also the
 8   holder of a Disabled Person Parking Placard.
 9         2.     Plaintiff is informed and believes and thereon alleges that Defendant
10   LAXMI HOSPITALITY LLC, a California limited liability company, owned the
11   property located at 20157 Ventura Blvd., Woodland Hills, CA 91364 (“Property”)
12   on or around August 8, 2020.
13         3.     Plaintiff is informed and believes and thereon alleges that Defendant
14   LAXMI HOSPITALITY LLC, a California limited liability company, owns the
15   Property currently.
16         4.     Plaintiff does not know the true name of Defendant, its business
17   capacity, its ownership connection to the Property serving 818 Hotel + Pool, Ascend
18   Hotel Collection (“Business”), or its relative responsibilities in causing the access
19   violations herein complained of. Plaintiff is informed and believes that each of the
20   Defendants herein, including Does 1 through 10, inclusive, is responsible in some
21   capacity for the events herein alleged, or is a necessary party for obtaining
22   appropriate relief. Plaintiff will seek leave to amend when the true names,
23   capacities, connections, and responsibilities of the Defendants and Does 1 through
24   10, inclusive, are ascertained.
25                              JURISDICTION AND VENUE
26         5.     This Court has subject matter jurisdiction over this action pursuant
27   to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the ADA.
28         6.     This court has supplemental jurisdiction over Plaintiff’s non-federal
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                                            COMPLAINT
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 1   claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s Unruh Civil Rights Act,
 2   California Civil Code § 51 et seq., (“UCRA”) claims are so related to Plaintiff’s
 3   federal ADA claims in that they have the same nucleus of operative facts and
 4   arising out of the same transactions, they form part of the same case or controversy
 5   under Article III of the United States Constitution.
 6          7.     Venue is proper in this court pursuant to 28 U.S.C. §1391 because the
 7   real property which is the subject of this action is located in this district and because
 8   Plaintiff's causes of action arose in this district.
 9                                FACTUAL ALLEGATIONS
10          8.     Plaintiff went to the Business on or about August 8, 2020 for the dual
11   purpose of inquiring about lodging and to confirm that this public place of
12   accommodation is accessible to persons with disabilities within the meaning federal
13   and state law.
14          9.     The Business is a facility open to the public, a place of public
15   accommodation, and a business establishment.
16          10.    Parking spaces are one of the facilities, privileges, and advantages
17   reserved by Defendants to persons at the Property serving the Business.
18          11.    Unfortunately, although parking spaces were one of the facilities
19   reserved for patrons, there were no designated parking spaces available for persons
20   with disabilities that complied with the 2010 Americans with Disabilities Act
21   Accessibility Guidelines (“ADAAG”) on August 8, 2020.
22          12.    At that time, instead of having architectural barrier free facilities for
23   patrons with disabilities, Defendants have: a built up curb ramp that projects from
24   the sidewalk and into the access aisle (Section 406.5). Furthermore, the curb ramp is
25   in excess of the maximum grade allowed by ADAAG specifications (Section 406.1).
26          13.    Subject to the reservation of rights to assert further violations of law
27   after a site inspection found infra, Plaintiff asserts there are additional ADA
28   violations which affect him personally.
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                                             COMPLAINT
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 1          14.   Plaintiff is informed and believes and thereon alleges Defendants had
 2   no policy or plan in place to make sure that there was compliant accessible parking
 3   reserved for persons with disabilities prior to August 8, 2020.
 4          15.   Plaintiff is informed and believes and thereon alleges Defendants have
 5   no policy or plan in place to make sure that the designated disabled parking for
 6   persons with disabilities comport with the ADAAG.
 7          16.   Plaintiff personally encountered these barriers. The presence of these
 8   barriers related to Plaintiff’s disability denies Plaintiff his right to enjoy accessible
 9   conditions at public place of accommodation and invades legally cognizable
10   interests created under the ADA.
11          17.   The conditions identified supra in paragraph 12 are necessarily related
12   to Plaintiff’s legally recognized disability in that Plaintiff is substantially limited in
13   the major life activities of walking, standing, ambulating, and sitting; Plaintiff is the
14   holder of a disabled parking placard; and because the enumerated conditions relate
15   to the use of the accessible parking, relate to the slope and condition of the
16   accessible parking and accessible path to the accessible entrance, and relate to the
17   proximity of the accessible parking to the accessible entrance.
18          18.   As an individual with a mobility disability who relies upon a
19   wheelchair, Plaintiff has a keen interest in whether public accommodations have
20   architectural barriers that impede full accessibility to those accommodations by
21   individuals with mobility impairments.
22          19.   Plaintiff is being deterred from patronizing the Business and its
23   accommodations on particular occasions, but intends to return to the Business for the
24   dual purpose of availing himself of the goods and services offered to the public and
25   to ensure that the Business ceases evading its responsibilities under federal and state
26   law.
27          20.   Upon being informed that the public place of accommodation has
28   become fully and equally accessible, he will return within 45 days as a “tester” for
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                                            COMPLAINT
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 1   the purpose of confirming their accessibility. Civil Rights Educ. and Enforcement
 2   Center v. Hospitality Props. Trust, 867 F.3d 1093, 1096 (9th Cir. 2017).
 3          21.      As a result of his difficulty experienced because of the inaccessible
 4   condition of the facilities of the Business, Plaintiff was denied full and equal access
 5   to the Business and Property.
 6          22.      The Defendants have failed to maintain in working and useable
 7   conditions those features required to provide ready access to persons with
 8   disabilities.
 9          23.      The U.S. Department of Justice has emphasized the importance of
10   enforcing laws that prohibit unlawful discriminatory behavior, especially in the era
11   of the COVID-19 emergency. See Statement by Assistant Attorney General for Civil
12   Rights Eric S. Dreiband Protecting Civil Rights While Responding to the
13   Coronavirus Disease 2019 (COVID-19) found at
14   https://www.ada.gov/aag_covid_statement.pdf.
15          24.      The violations identified above are easily removed without much
16   difficulty or expense. They are the types of barriers identified by the Department of
17   Justice as presumably readily achievable to remove and, in fact, these barriers are
18   readily achievable to remove. Moreover, there are numerous alternative
19   accommodations that could be made to provide a greater level of access if complete
20   removal were not achievable.
21          25.      Given the obvious and blatant violation alleged hereinabove, Plaintiff
22   alleges, on information and belief, that there are other violations and barriers in the
23   site that relate to his disability. Plaintiff will amend the complaint, to provide proper
24   notice regarding the scope of this lawsuit, once he conducts a site inspection.
25   However, the Defendants are on notice that the Plaintiff seeks to have all barriers
26   related to his disability remedied. See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008)
27   (holding that once a plaintiff encounters one barrier at a site, the plaintiff can sue to
28   have all barriers that relate to his disability removed regardless of whether he
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                                             COMPLAINT
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 1   personally encountered them).
 2         26.    Without injunctive relief, Plaintiff will continue to be unable to fully
 3   access Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
 4                               FIRST CAUSE OF ACTION
 5   VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
 6     42 U.S.C. § 12181 et seq. as amended by the ADA Amendments Act of 2008
 7                                        (P.L. 110-325)
 8         27.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
 9   above and each and every other paragraph in this Complaint necessary or helpful to
10   state this cause of action as though fully set forth herein.
11         28.    Under the ADA, it is an act of discrimination to fail to ensure that the
12   privileges, advantages, accommodations, facilities, goods, and services of any place
13   of public accommodation are offered on a full and equal basis by anyone who owns,
14   leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
15   Discrimination is defined, inter alia, as follows:
16                a.     A failure to make reasonable modifications in policies, practices,
17                       or procedures, when such modifications are necessary to afford
18                       goods, services, facilities, privileges, advantages, or
19                       accommodations to individuals with disabilities, unless the
20                       accommodation would work a fundamental alteration of those
21                       services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
22                b.     A failure to remove architectural barriers where such removal is
23                       readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
24                       defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
25                       Appendix "D".
26                c.     A failure to make alterations in such a manner that, to the
27                       maximum extent feasible, the altered portions of the facility are
28                       readily accessible to and usable by individuals with disabilities,
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                                            COMPLAINT
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 1                         including individuals who use wheelchairs, or to ensure that, to
 2                         the maximum extent feasible, the path of travel to the altered area
 3                         and the bathrooms, telephones, and drinking fountains serving
 4                         the area, are readily accessible to and usable by individuals with
 5                         disabilities. 42 U.S.C. § 12183(a)(2).
 6         29.       Any business that provides parking spaces must provide accessible
 7   parking spaces. 2010 Standards § 208. Under the 2010 Standards, access aisles
 8   shall be at the same level as the parking spaces they serve. Changes in level are not
 9   permitted. 2010 Standards § 502.4. "Access aisles are required to be nearly level in
10   all directions to provide a surface for wheelchair transfer to and from vehicles." 2010
11   Standards § 502.4 Advisory. Here the failure to provide a level access aisle in the
12   designated disabled parking space is a violation of the law and excess slope angle in
13   the access pathway is a violation of the law.
14         30.       A public accommodation must maintain in operable working condition
15   those features of its facilities and equipment that are required to be readily accessible
16   to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
17         31.       Here, the failure to ensure that accessible facilities were available and
18   ready to be used by Plaintiff is a violation of law.
19         32.       Given its location and options, Plaintiff will continue to desire to
20   patronize the Business but he has been and will continue to be discriminated against
21   due to lack of accessible facilities and, therefore, seeks injunctive relief to remove
22   the barriers.
23                                SECOND CAUSE OF ACTION
24       VIOLATION OF THE UCRA, CALIFORNIA CIVIL CODE § 51 et seq.
25         33.       Plaintiff re-alleges and incorporates by reference all paragraphs alleged
26   above and each and every other paragraph in this Complaint necessary or helpful to
27   state this cause of action as though fully set forth herein.
28         34.       California Civil Code § 51 et seq. guarantees equal access for people
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                                              COMPLAINT
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 1   with disabilities to the accommodations, advantages, facilities, privileges, and
 2   services of all business establishments of any kind whatsoever. Defendants are
 3   systematically violating the UCRA, Civil Code § 51 et seq.
 4         35.    Because Defendants violate Plaintiff’s rights under the ADA,
 5   Defendants also violated the UCRA and are liable for damages. (Civ. Code § 51(f),
 6   52(a).) These violations are ongoing.
 7         36.    Plaintiff is informed and believes and thereon alleges that Defendants’
 8   actions constitute discrimination against Plaintiff on the basis of a disability, in
 9   violation of the UCRA, Civil Code § 51 et seq., because Defendants have been
10   previously put on actual or constructive notice that the Business is inaccessible to
11   Plaintiff. Despite this knowledge, Defendants maintain its premises in an
12   inaccessible form, and Defendants have failed to take actions to correct these
13   barriers.
14                                          PRAYER
15   WHEREFORE, Plaintiff prays that this court award damages provide relief as
16   follows:
17         1.     A preliminary and permanent injunction enjoining Defendants from
18   further violations of the ADA, 42 U.S.C. § 12181 et seq. as amended by the ADA
19   Amendments Act of 2008 (P.L. 110-325), and UCRA, Civil Code § 51 et seq. with
20   respect to its operation of the Business and Property; Note: Plaintiff is not invoking
21   section 55, et seq, of the California Civil Code and is not seeking injunctive relief
22   under the Disabled Persons Act (Cal. C.C. §54) at all.
23         2.     An award of actual damages and statutory damages of not less than
24   $4,000 per violation pursuant to § 52(a) of the California Civil Code;
25         3.     An additional award of $4,000.00 as deterrence damages for each
26   violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
27   LEXIS 150740 (USDC Cal, E.D. 2016); and,
28         4.     For reasonable attorneys' fees, litigation expenses, and costs of suit,
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                                            COMPLAINT
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 1   pursuant to 42 U.S.C. § 12205; California Civil Code § 52.
 2                               DEMAND FOR JURY TRIAL
 3         Plaintiff hereby respectfully requests a trial by jury on all appropriate issues
 4   raised in this Complaint.
 5

 6   Dated: August 26, 2020                 MANNING LAW, APC
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 8                                    By: /s/ Joseph R. Manning Jr., Esq.
                                         Joseph R. Manning Jr., Esq.
 9                                       Attorney for Plaintiff
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